                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

 UNITED STATES OF AMERICA ex rel.                   §
 JESUS NUNEZ-UNDA,                                  §
                                                    §
         Plaintiff,                                 §
                                                    §      5:22-CV-659-FB
                 v.                                 §
                                                    §
 LAFAYETTE RE MANAGEMENT LLC,                       §
 BRANDYWINE HOMES USA LLC, and                      §
 THIBAULT ADRIEN,                                   §
                                                    §
         Defendants.                                §

                            JOINT STIPULATION OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) and 31 U.S.C. § 3730(b)(1), and subject to the

terms and conditions of the Settlement Agreement attached hereto as Exhibit A, the United States

and relator Jesus Nunez-Unda (“Relator”) hereby stipulate to the dismissal of all claims in this

action against defendants Lafayette RE Management LLC, Brandywine Homes USA LLC, and

Thibault Adrien.

       The United States and Relator further stipulate that such dismissal shall be (1) with

prejudice to the United States as to the claims against defendants Lafayette RE Management LLC

and Thibault Adrien set forth in Paragraph 3 of the Settlement Agreement; (2) without prejudice

to the United States as to all other claims asserted in this action; and (3) with prejudice to Relator

as to all claims asserted against all defendants.

       The parties respectfully request that the Court retain jurisdiction to enforce the terms of the

Settlement Agreement.
Dated: December 20, 2024                     Respectfully submitted,


JAIME ESPARZA
United States Attorney

 /s/ Samuel M. Shapiro                        /s/ Max E. Rodriguez
SAMUEL M. SHAPIRO                            Max E. Rodriguez
Assistant United States Attorney             New York Bar No. 5422811
Georgia Bar No. 717286                       LAW OFFICE OF MAX RODRIGUEZ PLLC
601 N.W. Loop 410, Suite 600                 575 5th Avenue, 14th Floor
San Antonio, Texas 78216                     New York, New York 10017
Tel: (210) 384-7392                          (646) 741-5167
Fax: (210) 384-7322                          max@maxrodriguez.law
samuel.shapiro@usdoj.gov
                                             Adam Pollock
Attorneys for the United States of America   New York Bar No. 4518833
                                             POLLOCK COHEN LLP
                                             111 Broadway, Suite 1804
                                             New York, NY 10006
                                             (212) 337-5361
                                             Email: adam@pollockcohen.com

                                             Attorneys for Relator Jesus Nunez-Unda




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 UNITED STATES OF AMERICA ex rel.                 §
 JESUS NUNEZ-UNDA,                                §
                                                  §
         Plaintiff,                               §
                                                  §        5:22-CV-659-FB
                 v.                               §
                                                  §
 LAFAYETTE RE MANAGEMENT LLC,                     §
 BRANDYWINE HOMES USA LLC, and                    §
 THIBAULT ADRIEN,                                 §
                                                  §
         Defendants.                              §

                                     [PROPOSED] ORDER

       This matter came before the Court on the United States’ and relator Jesus Nunez-Unda’s

Joint Stipulation of Dismissal of all claims against defendants Lafayette RE Management LLC,

Brandywine Homes USA LLC, and Thibault Adrien. It is hereby ORDERED that all claims

asserted in this action are dismissed as to all defendants. Such dismissal shall be (1) with prejudice

to the United States as to the claims against defendants Lafayette RE Management LLC and

Thibault Adrien set forth in Paragraph 3 of the Settlement Agreement; (2) without prejudice to the

United States as to all other claims asserted in this action; and (3) with prejudice to Relator as to

all claims asserted against all defendants.

       The Court shall retain jurisdiction over the parties to enforce the terms of the Settlement

Agreement among them.

       SO ORDERED this __________ day of __________________, 202__.



                                                      ___________________________________
                                                      THE HONORABLE FRED BIERY
                                                      UNITED STATES DISTRICT JUDGE
